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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF MISSISSIPPI

                                    CIVIL MINUTES



CASE NO. 4:15cv106                       PLACE HELD - GREENVILLE, MS

McWRIGHT v. GREENVILLE PUBLIC SCHOOL DISTRICT

DATE & TIME BEGAN/ENDED: 2/9/2016 @ 10:00 - 11:15 am

                         TOTAL TIME -      1 Hour 15 Minutes


PRESENT:            Honorable Jane M. Virden, U.S. Magistrate Judge



ATTORNEY(S) FOR PLAINTIFF(S)                   ATTORNEY(S) FOR DEFENDANT(S)
Francis Starr Springer                         Willie Griffin




PROCEEDINGS: Settlement Conference

Docket Entry: Conference held. Case settled.



                                               DAVID CREWS, CLERK

                                               By:    /s/ Dean Dacus
                                                     Courtroom Deputy
